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                                                                    U,S, DISTRICT COURT
                              IN THE UNITED STATES DISTRICT COURT DISTRICT OF MARYLAND
                                  FOR THE DISTRICT OF MARYLAND
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    UNITED STATES OF AMERICA                            *                                      Ci.ERK'S OFFICE
                                                        *                                       AT (jR[EI,.~IELT
                                                        *                             BY_. __.... fi;'-PffT{
    v.                                                  *                Crim. No. PJM 11-0567
                                                        *
                                                        *
    CHEKO E. SPEIGHT,                                   *
                                                        *
             Defendant                                  *


                                          MEMORANDUM             OPINION

            Cheko E, Speight, pro .Ie, has filed a Motion for Reconsideration of Sentence, I which the

    Government opposes, For the reasons that follow, the Court will DENY the Motion,

                                                            I.

            Speight was originally charged in a Criminal Complaint with Conspiracy to Distribute

    and Possess with Intent to Distribute Cocaine and/or Cocaine Base, in violation of 21 U,S,c.

    S 846, ECF No, 16, He was eventually charged in a Superseding Indictment with a single count
    of Conspiracy to Possess with Intent to Distribute 500 Grams or More of Cocaine, in violation of

    21 U,S,c.    S 846, ECF No, 64, Therealler, Speight entered an agreement to plead guilty to this
    count. Plea Agreement,        ECF No, lIS, at 1. The Plea Agreement stipulated that Speight's

    criminal activity involved between 3,5 and 5 kilograms of cocaine. Id. at 9.

            On December 3 I. 2013, Judge Alexander Williams of this Court (since retired) held a

    Sentencing    Hearing in which he adopted the factual findings and the advisory guideline

    application in the Probation Officer's Presentence Report (PSR). Statement of Reasons ("SOR"),

    ECF No. 427, at 1. In the PSR, Speight's Offense Level was calculated to be 27, and his

    I Though docketed solely as a Motion to Reduce Sentence, see ECF No. 445, Speight also requests appointment of
    counsel. The Court denies this request.
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Criminal History Category was determined to be II. PSR at ~~ 30, 37. Based on that offense level

and criminal history category, the recommended guideline range as to Speight's eustody was 78

to 97 months. Id. at ~ 49. At the Sentencing Hearing, Judge Williams found that Speight's

offense of conviction subjected him to a mandatory minimum sentenee of 5 years (or 60 months)

imprisonment under 21 U.S.C. 9 841 (b)(l )(8). See SOR at 1. Judge Williams ultimately departed

downward from the advisory guideline range after consideration of various 18 U.S.C. 9 3553(a)

factors, sentencing Speight to the mandatory minimum of 60 months of imprisonment. See SOR

at 3; Judgment and Commitment Order, ECF No. 426, at 2.

       Speight now brings this Motion to Reduce Sentence pursuant to 18 U.S.C. 9 3582(c) and

Amendment 782 of the United States Sentencing Guidelines to reduce his Offense Level by two

levels, seeking to achieve a sentence lower than the mandatory minimum sentence already

imposed. The Govemment       opposes the Motion, asserting that Speight is not entitled to a

reduction in his sentence below the statutory mandatory minimum.

                                               II.

       Under 18 U.S.c.     9 3582( c), "a defendant   who has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission" may tile a motion asking the Court to reduce his or her sentence. The Court may

reduce the defendant's   term of imprisonment "after considering the factors set forth in [18

U.S.C. 9 3582(a)] to the extent that they are applicable, if such a reduction is consistent with

applicable poliey statements issued by the Sentencing Commission." 18 U.S.c. 93582(c)(2).

       Amendment 782 of the United States Sentencing Guidelines, which became etTective

November 1, 2014, reduced the base offense levels in thc Advisory Guidelines under S 2D 1.1 for

cocaine base offenses by 2 levels. The Sentencing Commission provided that Amendment 782



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        would apply retroactively.   U.S.S.G.   SS I B 1.1O(d), (e)(l). Amendment 782, however, does not
        have the effect of reducing a defendant's sentence below a statutory mandatory minimum, unless

        the court originally had the authority to sentence the defendant below the mandatory minimum

        based on his or her substantial assistance to authorities. See U.S.S.G. S IBJ.IO(a), (c); see also

        id., Application Note I(A) ('"[A] reduction in the defendant's        term of imprisonment   is not

        authorized under 18 U.S.C. 3582(c)(2) and is not consistent with this policy statement if ... the

        amendment does not have the effect of lowering the defendant's          applicable guideline range

        because of the operation of another guideline or statutory provision (e.g., a sla/lIIary manda/my

        minimum term oj imprisonmenl).") (emphasis added).

               As the Government notes, Speight was subject to a 5-year mandatory minimum sentence

        under 21 U.S.c.   S 841(b)(I) at the time of his sentencing. He did not receive any downward
        departure from his Advisory Guidelines range based on substantial assistance to authorities. See

        SOR at 2. Absent such departure for substantial assistance, Speight is not eligible to receive a

        sentence below the statutory mandatory minimum. See U.S.S.G. ~ IBJ.IO(a)(2), (c). He is thus

        not eligible for any further reduction to his 60-month sentence under Amendment 782.

               For the above reasons, the Motion to Reduce Sentence under 18 U.S.c. 3582(c). ECF No.

        445. is DENIED.

               A separate Order will ISSUE.



                                                                        lsI
                                                               PET R J. MESSITTE
                                                      UNI         TES DISTRICT JUDGE


               November 3,2015




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